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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION


GIBSON BRANDS, INC., a DELAWARE                 §
Corporation,                                    §
                                                §
             Plaintiff/Counterclaim-Defendant, §
                                                §
v.                                              §                      Case No. 4:19-CV-0358
                                                §
ARMADILLO DISTRIBUTION                          §
ENTERPRISES, INC., CONCORDIA                    §
INVESTMENT PARTNERS, LLC                        §
                                                §
             Defendants/Counterclaim-Plaintiff, §
                                                §
DOES 1 through 10,                              §
                                                §
                            Defendants,         §


                                      NOTICE OF APPEAL

       Notice is hereby given that all appearing Defendants/Counterclaim-Plaintiff (Armadillo

Distribution Enterprises, Inc. and Concordia Investment Partners, LLC) hereby appeal to the

United States Court of Appeals for the Fifth Circuit from (i) the Final Judgment (Docket # 547),

entered on 28 July 2022, (ii) the Memorandum Opinion and Order (Docket # 546) entered on 28

July 2022, and (iii) each and every prior order of the district court herein, including but not limited

to Docket Nos. 132, 134, 135, 139, 302, 303, 332, 333, 384, 385, 470, 471, 473, 474, 475, 476,

546, and 547.

       Defendants/Counterclaim-Plaintiff       (Armadillo    Distribution    Enterprises,   Inc.   and

Concordia Investment Partners, LLC) hereby also give further notice that each reserve the right to

timely amend this notice pursuant to Fed. R. Civ. P. 4(a)(4)(B)(ii) upon the entry of the last order

disposing of the motions identified in Fed. R. Civ. P. 4(a)(4)(A).
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Dated: 26 August 2022                       Respectfully submitted,


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                                            Attorneys for Armadillo Distribution Enterprises,
                                            Inc. and Concordia Investment Partners, Inc.


                               CERTIFICATE OF SERVICE
       I, the undersigned, hereby certify that on the 26th day of August, 2022, a copy of the
foregoing document was served on all counsel of record via this Court’s CM/ECF electronic filing
system.


                                                   /s/ Emileigh S. Hubbard
                                                   Emileigh S. Hubbard
